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                                                                                 2021 Dec-02 PM 04:22
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                           JASPER DIVISION

UNITED STATES OF AMERICA )
                         )
v.                       ) Case No.: 6:21-cr-103-LSC-JHE
                         )
PHILLIP ANTHONY MINGA,   )
    Defendant.           )

                      FINAL ORDER OF FORFEITURE

      In the Notice of Forfeiture included in the Indictment in this case, the United

States sought forfeiture of property constituting or derived from proceeds traceable

to Defendant PHILLIP ANTHONY MINGA’s crimes charged in Indictment Counts

One through Five. The Forfeiture Notice also informed Defendant of the

Government’s intention to seek forfeiture of substitute assets in the event that

directly forfeitable property was unavailable.

      On August 25, 2021, Defendant PHILLIP ANTHONY MINGA entered a

formal plea of guilty to the offenses charged in Indictment Counts One through Five.

In his plea agreement, Defendant agreed that the Court could immediately enter an

order of forfeiture against him in the amount of $7,100,000.

      Based upon the guilty plea entered by Defendant PHILLIP ANTHONY

MINGA and Defendant’s consent to the entry of an order of forfeiture in the amount

of $7,100,000, the Attorney General is now entitled to possession of $7,100,000

pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure.
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      Therefore the court ORDERS:

      1.      That PHILLIP ANTHONY MINGA shall FORFEIT to the United

States of America the $7,100,000 in proceeds Defendant obtained, controlled, and

benefitted from as result of his offense pursuant to 18 U.S.C. § 982(a)(7).

      2.      That the Attorney General or his designee is hereby authorized to seize

said property forfeited herein.

      3.      That this Order of Forfeiture shall be deemed final as to Defendant

PHILLIP ANTHONY MINGA, and shall be made part of his sentence and included

in Defendant’s Judgment in accordance with Rule 32.2(b)(4) of the Federal Rules of

Criminal Procedure.

      4.      That this Court shall retain jurisdiction in the case for the purpose of

enforcing this Order.




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      5.     That the Clerk of the Court shall forward two certified copies of this

Final Order of Forfeiture to the United States Attorney’s Office, 1801 Fourth

Avenue North, Birmingham, AL 35203, Attention: Thomas Borton, Assistant U.S.

Attorney, and one certified copy to the U.S. Marshals Service.




      DONE and ORDERED on December 2, 2021.



                                             _____________________________
                                                     L. Scott Coogler
                                                United States District Judge
                                                                               173538




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